         Case 5:18-cv-00680-FB Document 21 Filed 08/20/18 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION

RUSSELL ZINTER, et al;
                                              CIVIL ACTION NO: 5:18-CV-680
             Plaintiffs,

VS.

CHIEF JOSEPH SALVAGGIO, et al;

          Defendants.
________________________________________/

            [PROPOSED] TEMPORARY RESTRAINING ORDER

      This matter having come before the Court on Plaintiffs’ Emergency Motion

for Temporary Restraining Order, and the Court being otherwise fully advised in the

premises;

      IT IS SO ORDERED that Plaintiffs’ motion is GRANTED.

      IT IS FURTHER ORDERED that the Defendants are enjoined from

searching, examining, or in any other way, viewing the contents or files on any of

the devices seized by the Defendants on the dates referred to in Plaintiffs’ Complaint.

      IT IS FURTHER ORDERED that the Defendants are enjoined from taking

any actions in furtherance of their attempt to uncover, view, or examine any Google

information of any of the Plaintiffs.




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         Case 5:18-cv-00680-FB Document 21 Filed 08/20/18 Page 2 of 2




       IT IS FURTHER ORDERED that Google is enjoined from producing any

records about any Plaintiffs to any of the Defendants, that in any way relate to the

allegations that are the subject of this litigation.



                                          Hon. Fred Biery
                                          UNITED STATES DISTRICT JUDGE
Dated: ________________




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